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19
                             UNITED STATES DISTRICT COURT
20                         NORTHERN DISTRICT OF CALIFORNIA
21
     CHASOM BROWN, WILLIAM BYATT,              Case No.: 4:20-cv-03664-YGR-SVK
22   JEREMY DAVIS, CHRISTOPHER
     CASTILLO, and MONIQUE TRUJILLO            PLAINTIFFS’ ADMINISTRATIVE
23   individually and on behalf of all other   MOTION TO CONSIDE WHETHER
     similarly situated,                       GOOGLE’S MATERIAL SHOULD BE
24
                                               SEALED
                         Plaintiffs,
25                                             CIVIL L.R. 79-5
        v.
26
     GOOGLE LLC,
27                       Defendant.

28
                                                              CASE NO. 4:20-CV-03664-YGR-SVK
                      PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDE WHETHER
                               GOOGLE’S MATERIAL SHOULD BE SEALED
              Case 4:20-cv-03664-YGR Document 712 Filed 08/26/22 Page 2 of 4



 1          Pursuant to Civil Local Rule 79-5, Plaintiffs respectfully ask the Court to consider whether

 2   Google LLC’s (“Google”) material should be sealed.

 3
      Document Sought to be            Party Claiming         Portions to be     Basis for Sealing
 4
      Sealed                           Confidentiality        Filed Under Seal
 5    Plaintiffs’ Reply in Support     Google                 Portions           Refers to Material
      of Motion for Class                                     highlighted in     Designated “Highly
 6
      Certification                                           yellow             Confidential” and
 7                                                                               “Confidential” by
                                                                                 Google pursuant to the
 8                                                                               Protective Order

 9    Exhibits 92-98 of the Second     Google                 Entire documents   Material Designated
      Mao Declaration in Support                                                 “Confidential” and
10    of Plaintiffs’ Motion for                                                  “Highly Confidential”
11    Class Certification                                                        by Google pursuant to
                                                                                 the Protective Order
12

13
            Pursuant to Civil Local Rule 79-5(f), Google, as the designating party, bears the burden of
14
     establishing that the designated material is sealable.
15

16   Dated: August 26, 2022                        Respectfully Submitted,

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           PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDE WHETHER
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